
















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. PD-0266-09, PD-0267-09, PD-0268-09






TRACY PAUL TAYLOR, Appellant



v.



THE STATE OF TEXAS





ON STATE'S PETITION FOR DISCRETIONARY REVIEW


FROM THE FIRST COURT OF APPEALS


HARRIS COUNTY





	Meyers, J., delivered the opinion of the Court, in which Keller, P.J., and
Womack, Keasler, Hervey, and Cochran, JJ., joined.  Price, J., concurred. 
Johnson, J., dissented.


O P I N I O N 



	Appellant, Tracy Paul Taylor, was convicted of three offenses of aggravated
sexual assault and sentenced to seventy years' confinement with a fine of $10,000 for
each offense.  Much of the testimony at trial related to acts committed before Appellant
turned seventeen.  On appeal, Appellant argued in part that the jury charges were
erroneous because they did not limit the jury's consideration to evidence of acts
committed after his seventeenth birthday.  The court of appeals held that the error in the
jury charges deprived Appellant of a fair and impartial trial.  We granted review to
consider the effects of the instructions received and not received by the jury in this case. 
We will reverse.

I. PENAL CODE SECTION 8.07(b)

	Texas Penal Code Section 8.07(b) states:

	Unless the juvenile court waives jurisdiction under Section 54.02, Family
Code, and certifies the individual for criminal prosecution or the juvenile
court has previously waived jurisdiction under that section and certified the
individual for criminal prosecution, a person may not be prosecuted for or
convicted of any offense committed before reaching 17 years of age except
an offense described by Subsections (a)(1)-(5). (1)


Tex. Penal Code Ann. § 8.07(b) (emphasis added).  

II. PROCEDURAL HISTORY

	The jury found Appellant guilty of three offenses of aggravated sexual assault, as
charged in three separate indictments.  The earliest date cited among the indictments was
"on or about September 01, 2002."  On that date, Appellant was seventeen years old. (2) 
Therefore, the indictments did not violate Section 8.07(b), nor did the verdict forms,
which referred back to the indictments. (3)  The issue before this Court relates to the jury
charges.

	At trial, testimony referred to various years as the start of Appellant's abusive
conduct, all pre-dating Appellant's seventeenth birthday.  A child-abuse pediatrician
testified regarding her examination of the victim, which took place at the Children's
Assessment Center in 2006.  Her report, admitted into evidence, stated that Appellant
touched the victim inappropriately for the first time when the victim was seven. 
Appellant would have been twelve at that time.  The victim's father dated the start of his
daughter's contact with Appellant as the fall of 1998, when the victim would have been
eight and Appellant would have been thirteen.  The victim's own testimony described the
"worst" years of abuse as her sixth through eighth grade years.  She agreed with the
State's assertion that in sixth grade she was ten and eleven.  Appellant would have then
been fifteen and sixteen. (4)

	The jury charges did not contain an 8.07(b) instruction to limit the jury's
consideration to events after Appellant's seventeenth birthday.  After reviewing the
court's proposed charge, defense counsel stated that she had no objections. 

	At the court of appeals, Appellant argued that, without an 8.07(b) instruction, the
charges were erroneous because the evidence presented at trial included acts committed
before he turned seventeen.  The court of appeals agreed, concluding that without an
8.07(b) instruction, "the charge authorized the jury to convict [A]ppellant based on acts
he committed before his seventeenth birthday."  Taylor v. State, 288 S.W.3d 24, 30 (Tex.
App.-Houston [1st Dist.] 2009, pet. granted).  

	The State now argues to this Court that, in the absence of any request for an
8.07(b) instruction from defense counsel, the judge was not required to sua sponte
instruct the jury on this point.  The State also argues that the court of appeals should have
found any error to be harmless. (5)

III. ARTICLE 36.14 AND THE LAW APPLICABLE TO THIS CASE

	The State's first issue asks if the trial judge was required to sua sponte submit an
8.07(b) instruction in this case.  Code of Criminal Procedure Article 36.14 details the
requirements and procedures for the delivery of the court's charge to the jury.  Tex. Code
Crim. Proc. Ann. art. 36.14.  It states, "the judge shall . . . deliver to the jury . . . a
written charge distinctly setting forth the law applicable to the case."  Id.  Article 36.14
also provides that, before the charge is read to the jury, "the defendant or his counsel shall
have a reasonable time to examine the same and he shall present his objections."  Id. 
However, the judge's duty to instruct the jury on the law applicable to the case exists even
when defense counsel fails to object to inclusions or exclusions in the charge; this may
require the judge to sua sponte provide the jury with the law applicable to the case, under
Article 36.14.  So, even in the absence of action on the part of Appellant's defense
counsel, if an 8.07(b) instruction were the law applicable to this case, the trial judge was
required, under Article 36.14, to include it in the jury charges.  We must assess whether
the jury charges set forth the law applicable to the case, and specifically, whether an
8.07(b) instruction belonged in the jury charges.

	We have previously held that Article 36.14 imposes no duty on trial courts to sua
sponte instruct the jury on unrequested defensive issues.  Posey v. State, 966 S.W.2d 57,
62 (Tex. Crim. App. 1998).  An unrequested defensive issue is not the law applicable to
the case.  Id.  So, we must classify an 8.07(b) instruction as the law applicable to the case
or as an unrequested defensive issue.  

	In Posey, the instruction we labeled an "unrequested defensive issue" was a
mistake-of-fact instruction.  Id. at 59.  The appellant argued that the trial court erred by
not instructing the jury sua sponte on that point.  Id.  The defense of mistake of fact is
codified in Section 8.02(a) of the Texas Penal Code. (6)  Tex. Penal Code Ann. § 8.02(a). 
The close proximity of Sections 8.02(a) and 8.07(b) in the Penal Code, both in the
General Defenses chapter, invites a comparison of the statutes.  Section 8.02(a)
establishes mistake of fact as "a defense to prosecution," which correlates to its
classification as a "defensive issue."  Id.  In contrast, Section 8.07(b) does not refer to a
"defense" at all.  Tex. Penal Code Ann. § 8.07(b).  Rather, it is a prohibition of
prosecutions and convictions based upon offenses committed before the age of seventeen. 
Id. 

	In addition to studying the language of 8.07(b) and its general applicability, we
must also consider the particulars of the record before us in order to decide whether an
8.07(b) instruction is the law applicable to this case or an unrequested defensive issue.  
The State argues that an 8.07(b) instruction is a defensive issue in this case because
defense counsel's theory at trial was that Appellant never sexually assaulted the victim,
not that he only did so only before turning seventeen. (7)  In other words, the State suggests
that activating 8.07(b) and directing attention away from Appellant's pre-seventeen
conduct would have contravened the defense's theory that Appellant was innocent at
every age.  

	A feature of a defensive issue is that it is a strategic decision "generally left to the
lawyer and the client."  Posey, 966 S.W.2d at 63.  However, the applicability of Section
8.07(b) is not contingent upon any party's theory of the case.  It is not within the
defendant's (or counsel's) discretion to decide whether or not he may be prosecuted for or
convicted of offenses committed before turning seventeen.  Even if the defense wanted to
avoid a legally innocent argument, that does not change the fact that the jury in this case
received evidence upon which they were statutorily prohibited from convicting Appellant.

	Due to the repeated testimony regarding Appellant's pre-seventeen conduct, the
absence of an 8.07(b) instruction in the jury charges is problematic.  Further complicating
matters is an instruction that was included:

	You are further instructed that the State is not bound by the specific date
which the offense, if any, is alleged in the indictment to have been
committed, (8) but that a conviction may be had upon proof beyond a
reasonable doubt that the offense, if any, was committed at any time within
the period of limitations.  The limitation period applicable to the offense of
aggravated sexual assault of a child is ten years from the date of the 18th
birthday of the victim of the offense. 


With this paragraph, the jury was instructed that it could ignore the dates cited in the
indictments and could convict Appellant for any offense committed prior to the victim's
twenty-eighth birthday, which will fall in 2018.  

	We noted a similar problem in Alberty v. State, 250 S.W.3d 115, 116 (Tex. Crim.
App. 2008), in which indictments alleged that the defendant, as an adult, sexually
assaulted a child.  However, testimony described incidents of assault dating from the time
the defendant was thirteen.  Id.  The jury charges in that case featured the following
instruction, to which the defendant made no objection:

	You are instructed that the State is not required to prove the exact date
alleged in the indictment.  The term "on or about the [respective date]"
means any date prior to the date of the filing of the indictment, August 27,
2003, and within the Statute of Limitations.  The Statute of Limitations for
this type of alleged offense is 10 years past the child's 18th birthday. (9)


Id. at 117.  On appeal, the defendant asserted that the jury charges were erroneous
because "they instructed the jury that they could convict appellant of any offense anterior
to presentment of the indictment and within the statutes of limitations, when in fact he
could only be convicted of offenses occurring on or after his seventeenth birthday, July 7,
2001."  Id.  This issue, highlighting the tension between 8.07(b) and the statute-of-limitations instruction, was misconstrued by the court of appeals in Alberty as a
jurisdictional complaint.  Id.  We reversed and remanded the case for resolution of the
jury-charge issue.  Id. at 118.  On remand, the court of appeals concluded that the jury
charges were erroneous because the instruction received by the jurors contravened
Section 8.07(b).  Alberty v. State, No. 05-05-01687-CR, No. 05-05-01688-CR, 2008 Tex.
App. LEXIS 5252, *8-9 (Tex. App.-Dallas July 16, 2008, no pet.) (not designated for
publication). (10)

	We, too, conclude that a jury charge is erroneous if it presents the jury with a much
broader chronological perimeter than is permitted by law.  The trial judge is "ultimately
responsible for the accuracy of the jury charge and accompanying instructions."  Delgado
v. State, 235 S.W.3d 244, 249 (Tex. Crim. App. 2007).  This is an "absolute sua sponte
duty," and, in this case, the trial judge had a sua sponte duty to provide an 8.07(b)
instruction.  Id.  Although the jury instruction here did not specifically refer to "any
offense anterior to the presentment of the indictment" as did the charge in Alberty, it did
not limit the jury's consideration of such.  The absence of an 8.07(b) instruction,
combined with the evidence of Appellant's conduct as a juvenile and the instruction that
the jurors did receive--that "a conviction may be had" for any offense committed before
the victim's twenty-eighth birthday--ultimately resulted in inaccurate charges that
omitted an important portion of the law applicable to the case.  Therefore, we find a
violation of Article 36.14 and must proceed to a second step of analysis.

IV. ARTICLE 36.19 AND ALMANZA

	After finding error in the court's charges, we must next consider whether
Appellant was harmed by the error.  Alberty, 250 S.W.3d at 119.  Article 36.19
establishes the standard for reversal on appeal when the requirements of Article 36.14 (11)
have been disregarded: "the judgment shall not be reversed unless the error appearing
from the record was calculated to injure the rights of defendant, or unless it appears from
the record that the defendant has not had a fair and impartial trial."  Tex. Code Crim.
Proc. Ann. art. 36.19.

	In Almanza v. State, 686 S.W.2d 157 (Tex. Crim. App. 1985) (op. on reh'g), we
construed Article 36.19 as presenting two distinct standards for jury-charge error, the
application of each determined by whether the defendant objected at trial. (12)

	If the error in the charge was the subject of a timely objection in the trial
court, then reversal is required if the error is "calculated to injure the rights
of defendant," which means no more than that there must be some harm to
the accused from the error.

	. . . 

	On the other hand, if no proper objection was made at trial and the accused
must claim that the error was "fundamental," he will obtain a reversal only
if the error is so egregious and created such harm that he "has not had a fair
and impartial trial"-in short "egregious harm."


Id. at 171.  Because Appellant did not object to the jury-charge error at trial, resolution of
the instant case requires an egregious harm analysis, and we do not believe that egregious
harm resulted from the charge error in this case.

	As we have stated, "[e]gregious harm is a difficult standard to prove and such a
determination must be done on a case-by-case basis."  Hutch v. State, 922 S.W.2d 166,
172 (Tex. Crim. App. 1996).  In determining whether Appellant was deprived of a fair
and impartial trial, we review "the entire jury charge, the state of the evidence, including
the contested issues and weight of probative evidence, the argument of counsel and any
other relevant information revealed by the record of the trial as a whole."  Almanza, 686
S.W.2d at 171.  We will examine "any . . . part of the record as a whole which may
illuminate the actual, not just theoretical, harm to the accused."  Id. at 174.  Errors which
result in egregious harm are those that affect the very basis of the case, deprive the
defendant of a valuable right, vitally affect the defensive theory, or make a case for
conviction clearly and significantly more persuasive.  Id. at 172; see Hutch, 922 S.W.2d
at 171.

A. J.G.'s Testimony

	J.G. testified that she began staying with Appellant's family at the age of eight
(when Appellant was 13 years old).  J.G's father paid Appellant's twin sister, Sheena, to
babysit his daughter until he was able to pick her up after school, normally around 6:00
p.m.  J.G. explained that Appellant initially treated her like an "annoying little sister," but
this soon progressed such that he would be "mean" and make J.G. feel "uncomfortable." 
Referring to the acts of molestation, J.G. testified that "[i]n the beginning -- like when I
first came to move down here, it didn't happen as much.  Then as the years progressed, it
progressed, what he did." 

	The first instance that J.G. could remember when she felt "uncomfortable"
happened in Appellant's mother's bedroom.  J.G. could not recall her age at the time but
did remember that, other than J.G. and Appellant, only Appellant's sick grandmother was
home.  Appellant asked J.G. if she wanted to play "Doctor."  Appellant proceeded to roll
a new roller paint brush up and down her leg.  Then he took off her "bottoms" and put the
handle of the brush inside of her vagina.  Appellant stopped when his grandmother threw
a shoe at the bedroom door.  J.G. also recalled an occurrence months later when
Appellant instructed her to put a CoCoa Puff in her vagina and leave it there.  J.G. pulled
out the cereal when Appellant left the room.

	In addition, J.G. described an incident that took place when she was in the fifth
grade.  She stated that she knew it occurred shortly after she began going to Appellant's
house because she remembered the navy pants that she was wearing then.  J.G. testified
that, when no one else was home, Appellant told her to go into the bathroom.  There, he
instructed her to stand on the toilet and pull down her pants, and he licked her vagina. 
Eventually, Appellant took J.G. into his bedroom, told her to take off all of her clothes,
and "put his penis in [her] vagina."

	Appellant began asking J.G. for oral sex "a lot," and they had vaginal and anal sex
"a lot."  In fact, J.G. testified that "something" would happen nearly every time she went
over to the house.  She could remember some instances clearly while others were only
recalled in flashes.  Among the more vivid recollections were the times when Appellant
instructed J.G. to put various things in her vagina (e.g., the top of a lava lamp, the handles
of a broom and a hammer, an ice cube, a bar of soap, and a vibrator), and he would often
attempt to push the objects in farther. 

	This type of abuse continued for years.  J.G. testified that the "worst" years were
between sixth grade (when J.G. was 10 and 11 and Appellant was 15 and 16) and eighth
grade (when J.G. was 12 and 13 and Appellant was 17 and 18).  She also asserted that
Appellant "did it a lot" when she was in the seventh, eighth, and ninth grades, typically
immediately after school.  When J.G. would object to Appellant's demands, he would
threaten to tell her father about the things that she had done, such as sneaking clothes into
school during the fifth and sixth grades because her father thought they were too tight or
too short.

	The instances of abuse were not happening as much toward the end.  J.G. claimed
that about the time that Appellant started dating his future wife, she began to say "No"
more often.  J.G. stated that the molestation stopped when she turned 15 (at which time
Appellant was 20 years old), but she emphasized that it occurred every day before that.  In
July 2006, the summer before she was to enter the eleventh grade, J.G. traveled to North
Carolina with Appellant and his family to visit their relatives.  During the trip, J.G. told
Appellant's wife and sister-in-law about the abuse.

B. Other Testimony  

	During its case-in-chief, the State called several other witnesses to testify.  J.G.'s
father testified that he worked a lot, so J.G. would stay at Appellant's home during the
day.  She began spending time there in October 1998 (when she was eight years old), but
her father was unaware of any abuse until J.G.'s outcry in July 2006.  J.G.'s godmother
attested similarly, stating that J.G. began staying over at Appellant's home when she was
eight years old.  She became aware of the sexual abuse when the family returned from
North Carolina, at which time she took J.G. to the police station to file a report. 

	The deputy from the Child Abuse Investigation Unit who was assigned to J.G.'s
case took the stand, too.  Although he did not speak directly with J.G. during the course
of the investigation, the deputy watched, via video, the interview between J.G. and a
forensic interviewer.  The deputy believed J.G.'s behavior to be consistent with other
cases that he had seen involving sexual abuse.  He also explained that a delayed outcry,
one taking place some time after the initial abuse, was not unusual.  Subsequently, a
psychologist and a professional counselor with whom J.G. interacted at the Children's
Assessment Center testified that J.G.'s behavior was consistent with years of sexual abuse
but on cross-examination acknowledged that the same symptoms occur in children that
were not sexually abused.

	The pediatrician at the Children's Assessment Center who performed J.G.'s
medical examination was called to the stand next.  She explained that J.G. seemed
emotionally distraught and complained of headaches and blood in her stool.  A physical
examination showed that J.G. was healthy, with no signs of trauma.  The doctor asserted
that a normal exam is the most common finding in children who have been sexually
abused because the vagina heals quickly and it is not uncommon for the hymen to remain
intact.  During the examination of J.G.'s anus, the doctor discovered a hemorrhoid but no
bleeding.  On cross-examination, the doctor acknowledged that the physical examination
results concerning J.G.'s vagina and anus were also consistent with someone who had not
been sexually assaulted.  The physician's report indicated that Appellant touched J.G.
inappropriately for the first time when the victim was seven (and Appellant would have
been 12 years old) and the abuse continued until about six weeks before the exam (when
Appellant was 20 years old).

	In Appellant's case-in-chief, several witnesses testified and generally maintained
that Appellant was never left alone with J.G., thereby suggesting that Appellant would not
have had the opportunity to molest J.G.  Appellant's mother testified that J.G. was never
left alone with Appellant, but on cross-examination, she admitted that she worked long
hours.  Sheena asserted that she was paid to take care of J.G., so during those eight years,
she was watching her all of the time and never left her alone with Appellant.  Sheena and
her husband explained that Appellant spent time at the library after school playing card
games and Game Boy, and by the time he would return home, J.G.'s dad would have
already picked her up.  A friend who stayed in the family's home during September 2002
(when Appellant was 17) maintained that she never saw Appellant and J.G. together. 
Sheena's husband, who moved into Sheena's room in September 2002 and remained there
for three years, stated the same.

	In its rebuttal, the State called Appellant's sister-in-law.  She thought that she had
seen Appellant and J.G. alone before, but she could not be sure.  She also explained that
after J.G. confided in her about the molestation, she was worried about J.G. returning to
Texas in the same car as Appellant.  The State also called Appellant's wife, who testified
outside of the jury's presence.  She stated that she met Appellant when he was 18 years
old, and she was in disbelief when she heard J.G.'s outcry because she had never seen
Appellant alone with J.G.

C. Arguments of Counsel 

	The defense's theory was that Appellant never molested J.G. (13)  During closing
arguments, Appellant argued that the evidence was insufficient to prove beyond a
reasonable doubt that he ever molested J.G.  Appellant highlighted the testimony of
several witnesses that he was never alone with J.G. during the eight-year period when the
abuse allegedly occurred.  He also indicated that J.G.'s emotional and physical symptoms
could logically occur for reasons other than sexual abuse.

	In contrast, the State's closing statement stressed the consistency of J.G.'s
testimony, including that the sexual abuse began when she was in the fifth grade and
continued until she turned fifteen.  The State noted that the abuse started off slow but
increased in frequency; in fact, the abuse occurred so often that one incident merged into
another in J.G.'s recollection.  The State referred to the initial abuse that occurred when
J.G. was in the fifth and sixth grades (before Appellant was 17 years old).  However, it
also highlighted that some of the "worst" molestation occurred when J.G. was in the
sixth, seventh, eighth grades, as well as part of the ninth grade.  The State further pointed
out that Appellant was 17, 18, and 19 years old when J.G. was in the seventh, eighth, and
ninth grades, and by doing so, the State emphasized an age range for Appellant that
complied with Section 8.07(b).

D. Jury Charge

	The jury charge erroneously instructed the jury that a conviction could be had for
offenses "committed at any time within the period of limitations," which was "ten years
from the date of the 18th birthday of the victim of the offense."  The State suggests that
"[t]here is no language in the jury instruction suggesting the consideration of dates before
the presentment of the indictment" and argues that "the jury charge instruction focuses on
looking forward in time ([J.G.'s] eighteenth birthday and beyond)."  But we presume that
the jury understood and followed the court's charges absent evidence to the contrary. 
Hutch, 922 S.W.2d at 172.  Therefore, the jury charge authorized the jury to convict, in
part, based on acts committed before Appellant's seventeenth birthday; however, it also
allowed the jury to consider acts that occurred after his seventeenth birthday but before
the limitations period expired.

	Taking the record as a whole, we believe that egregious harm did not result from
the jury-charge error.  The defensive theory was that no sexual abuse occurred at any
time.  It is unlikely that the jury believed that Appellant sexually assaulted the victim
before he turned 17 years old but not after.  In this case, the jury either believed Appellant
or believed the victim. 

	This case can be distinguished from Hutch in which we held that egregious harm
resulted from a charge error.  There, "the instruction was 180 degrees opposite of what is
should have been."  Id. at 172.  We explained that "we must presume the jury followed
the erroneous instruction which authorized the stop if appellant was wearing a seat belt. 
In fact the opposite is true; such a stop would have been illegal.  Under the erroneous
instruction, the only way the jury could have convicted was by using illegally obtained
evidence."  Id.

	Here, the error was the omission of an instruction, rather than the presentation to
the jury of an erroneous instruction.  In contrast to Hutch, the jury in this case could have
convicted Appellant based upon evidence presented, even if the proper instruction had
been given and Appellant's pre-seventeen acts were disregarded by the jury.  The
evidence showed an eight-year pattern of escalating sexual abuse of J.G. by Appellant. 
Appellant turned 17 years old midway through the abusive period, meaning that he is
subject to prosecution for his conduct beginning on that birthday or March 25, 2002, and
evidence of molestation that occurred after that date was introduced at trial.  For example,
although J.G. described with more detail the instances that occurred during Appellant's
juvenile years, she also described abuse that occurred when Appellant was 17, 18, 19, and
20 years old.  The State emphasized this in its closing argument. 

	Accordingly, we conclude that Appellant was not denied a fair and impartial trial
and was, therefore, not egregiously harmed.  Tex. Code Crim. Proc. Ann. art. 36.19.V. CONCLUSION

	Section 8.07(b) is the law applicable to this case and therefore subject to sua
sponte submission.  Appellant was not required to make an objection or request to have
this instruction included in the jury charges.  See Huizar v. State, 12 S.W.3d 479, 484
(Tex. Crim. App. 2000).  The court of appeals was correct to conclude that the trial court
erroneously failed to instruct the jury on Section 8.07(b).  However, the court of appeals
erred in concluding that the error resulted in egregious harm.  We reverse the court of
appeals and remand to the court of appeals to address the remaining issues.

										Meyers, J.

Delivered: March 9, 2011

Publish
1. Subsections (a)(1)-(5) are not applicable in this case.
2. Appellant turned seventeen earlier that year on March 25, 2002.
3. For two of the three offenses, the indictments evolved from the time they were originally
filed to the time they were presented at the start of the trial.  The altered allegations pertained to
the dates of the offenses and the specific methods of assault.  However, the inconsistences do not
affect our analysis because the final revised dates that were presented to the jury all fall after
Appellant's seventeenth birthday (as were all of the dates in the original indictments); and the
earliest date, after the revisions, remained September 1, 2002.  
4. The record includes different dates of birth for the victim.  The Children's Assessment
Center report lists June 12, 1990 as the victim's date of birth, while the victim testified that her
birthday was October 1.  Therefore, to a small extent, these calculations are approximate.
5. We granted the following two issues: 

(1) Is the age-based defense located in Section 8.07(b) of the Texas Penal Code a "defensive
issue" (as opposed to "law applicable to the case") for purposes of determining whether the trial
judge must sua sponte submit a jury instruction on this defense?

(2) Was Appellant harmed by any error resulting from the absence of an instruction on the age-based defense located in Section 8.07(b) of the Texas Penal Code when the victim testified that
the worst abuse occurred after Appellant turned 17 years old?
6. Note that in Posey we explained that an 8.02(a) instruction will not be a "defensive
issue" in every case.  Posey, 966 S.W.2d at 62.  When a defendant timely objects to the omission
of the instruction in the jury charge at trial, it will be the "law applicable to the case."  Id. 
7. To support this reading of the defendant's theory of the case, the State cites to defense
counsel's closing argument, where counsel stated, "the State simply has not met its burden of
proof to you that Tracy Taylor committed these offenses."
8. The dates alleged were the first, fifteenth, and thirtieth of September 2002 (all after 
Appellant's seventeenth birthday).
9. Arguably, the statute-of-limitations instruction in Alberty was more injurious than the
instruction featured in Appellant's jury charges because Alberty's explicitly stated that the
offense could have occurred on "any date prior" to the filing of the indictment.  While the
instruction in Appellant's charges established a certain future chronological limitation--the
victim's twenty-eighth birthday--the past chronological limitation was more vague; it simply
provided that the State was not bound by the specific dates alleged in the indictments.  Alberty's
instruction more blatantly contravened Section 8.07(b)'s prohibition of convictions based upon
juvenile conduct. 
10. The court of appeals in Alberty then proceeded, under Almanza v. State (discussed
infra), to determine that the defendant was egregiously harmed.  Alberty, 2008 Tex. App. LEXIS
5252.
11. Article 36.19 addresses appellate review for a group of statutes, not just Article 36.14. 
The other articles to which this provision applies are 36.15, 36.16, 36.17, and 36.18.  Tex. Code
Crim. Proc. Ann. art. 36.19.   
12. Note that Almanza does not apply unless the appellate court first finds a violation of
Article 36.14 (or any of the other articles referenced in Article 36.19).  Posey, 966 S.W.2d at 60. 
"Neither 'harm' standard set out in Article 36.19 as construed by Almanza applies unless an
appellate court first finds 'error' in the jury charge."  Id.
13. This was made clear in one of Appellant's first objections at trial.  Outside of the jury's 
presence, Appellant suggested that J.G. was making up the allegations against him--J.G. was
allegedly molested before she moved in with her father, and that is where "she got the idea to
start saying she was molested by [Appellant]."  The allegations of prior abuse were not
developed at trial.


